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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
RENE QUINONEZ and MOVEMENT INK) Case No, 3:22-CV-03195-WHO
LLC, )
) DECLARATION OF JEFFREY AGSTER
Plaintiffs, )
)
Vv. )
)
UNITED STATES OF AMERICA, )
)
Defendant. )
)
)
)
I, Jeffrey Agster, declare as follows:
1. The matters stated in this declaration are true of my own knowledge, and if necessary, I
could and would competently testify to them.
2. I currently serve as a Postal Inspector and have worked for the U.S. Postal Inspection

Service since 2004.

3. As part of my duties, J manage USPIS’ Administrative Non-Mailability Protocol (ANP).
As part of the ANP process in 2020, parcels that shared characteristics with suspected narcotics parcels
were held for 21 days before being opened unless consent or a search warrant was provided prior to the
expiration of the 21-day window.

4, In response to an interrogatory asking for information about the disposition of parcels
processed through the ANP, I compiled data from the ANP database with the assistance of my team.

5. The data compiled for the interrogatory response appears below:

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Statistics for 2020 Count

Number of parcels detained by USPIS
pursuant to ANP: 50,832

Number of those year 2020 detained
parcels that were opened based on:

o Consent 2,777

o Expiration of 21-day window 48,016

o Parcels opened up to 3 days prior to

the expiration of the 21-day window 0

o Judicial search warrant 24

o Something else 15
Appeal process through
OOC (10)

Unclear from appeal
whether consent to open
provided or retumed to
miailstream (5)

Number of those year 2020 detained
parcels in which:

o Marijuana was found 46,942
o Other illegal drugs were found 2,181
o Other contraband was found 195

o Only mailable items were found 3,273

Number of parcels assessed by USPIS
pursuant to ANP and returned to the
mailstream without being detained: 6,318

Number of parcels assessed by USPIS
pursuant to ANP and returned to the 62
mailstream without being opened:

6. The data used to compile the response was stored in the ANP database maintained by
USPIS to track data related to each ANP parcel, the same data reflected in the Parcel Detail Worksheets
for each individual parcels.

7. That data indicates that, in 2020, 62 parcels were assessed by USPIS and returned to the
mailstream and without being opened. This number includes the four parcels bearing tracking numbers
EJ363119375US, EJ363119384US, EJ363119353US, and EJ363119367US.

8. The data also reflects that that 0 parcels were opened in 2020 up to 3 days prior to the
expiration of the 21-day window (i.e., from 0 to 18 days after triage).

9. Data for the parcels EJ363119375US, EJ363119384US, EJ363119353US, and
EJ363119367US does not appear in the fields for parcels opened based consent, expiration of 21-day

window, judicial search warrant, or something else, because ANP data indicates that these parcels were

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not opened,

10. The ANP database docs not reflect that parcels £363119375US, 1/3631 19384US,
E1363119353US, and £.1363119367US were opened, The same data is reflected in the Parcel Detail
Worksheets for these parcels, which reflect no opening date.

1 declare under penalty of perjury under the laws of the United States that the above is true and

accurate. Executed this 4th day of October 2024, in Phoenix, Arizona.

AGSTEB.

DATED: October 4, 2024

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